                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


Texas League of United Latin American      §
Citizens, et al.,                          §
                                           §
        Plaintiffs,                        §
                                           §   Civil Action No. 5:19-cv-0074-FB
v.                                         §         [Lead Case]
                                           §
David Whitley, et al.,                     §
                                           §
        Defendants,                        §

AND
                                           §
Julieta Garibay, et al.                    §
                                           §
        Plaintiffs,                        §
                                           §
v.                                         § Civil Action No. 5:19-cv-00159-FB
                                           §       [Consolidated Case]
Whitley, et al.,                           §
                                           §
        Defendants,                        §


AND                                        §
                                           §
MOVE Texas Civic Fund, et al.,             §
                                           §
        Plaintiffs,                        §
                                           §
v.                                         §   Civil Action No. 5-19-cv-00171-FB
                                           §         [Consolidated Case]
Whitley, et al.,                           §
                                           §
        Defendants,                        §



                      GARIBAY PLAINTIFFS’ ADVISORY REGARDING
                      NEW VOTER PURGE LISTS SENT TO COUNTIES
       Plaintiffs Julieta Garibay, et al. file this Advisory to inform the Court that on March 11,

2019, following this Court’s status conference, Defendant Secretary of State David Whitley sent

Texas counties new lists of voters for investigation of the voters’ U.S. citizenship. Defendant

Whitley’s lists to the counties purported to contain information about registered voters who

visited DPS in the past few months.

       As with the flawed list of 98,000 voters, yesterday’s lists sent by Defendant Whitley

contained the names of naturalized U.S. citizens who are properly registered to vote. For

example, the list received by Cameron County contained the names of 78 voters, 54 of whom

registered to vote at DPS (Code 64) and are immediately recognizable as U.S. citizens.

According to news reports, the list received by Travis County contained 146 voters and “a

substantial number” of them were naturalized citizens who registered to vote at DPS. 1

       Defendant Whitley’s issuance of these latest deeply flawed lists to the counties, whether

or not inadvertent, exacerbates the confusion and concern among Garibay Plaintiffs and other

naturalized citizens who are registered voters and who are being investigated by their counties as

a result of the first, second and this latest batch of lists. Defendant Whitley’s issuance of these

latest lists also serves as further reason for the Court to grant a Preliminary Injunction that

requires State Defendants to rescind and take no further action on the purge lists until a

determination on the merits of Plaintiffs’ claims.

Dated: March 12, 2019                                  Respectfully Submitted,


                                                       MEXICAN AMERICAN LEGAL
                                                       DEFENSE AND EDUCATIONAL FUND
                                                       By: /s/ Nina Perales
1
 Alexa Ura, “Texas again mistakenly flags voters for citizenship reviews,” Texas Tribune,
March 11, 2019, available at https://www.texastribune.org/2019/03/11/texas-again-mistakenly-
flags-voters-citizenship-reviews/?utm_campaign=trib-social-
buttons&utm_source=twitter&utm_medium=social
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    Nina Perales (Tex. Bar No. 24005046)
    Ernest I. Herrera (Tex. Bar No.
    24094718)
    Alejandra Ávila (Tex. Bar No. 24089252)*
    Jack Salmon (Tex. Bar No. 24068914)
    110 Broadway, Suite 300
    San Antonio, Texas 78205
    Phone: (210) 224-5476
    Facsimile: (210) 224-5382
    Email: nperales@maldef.org
    (*Admitted Pro Hac Vice)

    ASIAN AMERICANS ADVANCING
    JUSTICE | AAJC
    Niyati Shahº* (NJ Bar No. 026622005)
    Eri Andriola+* (NY Bar No. 5510805)
    1620 L Street, NW, Suite 1050
    Washington, DC 20036
    Phone: (202) 815-1098
    Facsimile: (202) 296-2318
    º Admitted in New Jersey and New York
    only. DC practice limited to federal courts.
    + Admitted in New York only.

    ASIAN AMERICAN LEGAL DEFENSE
    AND EDUCATION FUND
    Jerry Vattamala+* (NY Bar No. 4426458)
    Patricia Yan+* (NY Bar No. 5499173)
    99 Hudson Street, 12th Floor
    New York, NY 10013
    Phone: (212) 966-5932
    Facsimile: (212) 966-4303
    + Admitted in New York only.

     *Admitted pro hac vice


    Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 12th day of March, 2019, I electronically

filed the above and foregoing document using the CM/ECF system, which automatically

sends notice and a copy of the filing to all counsel of record.

                                                     /s/ Nina Perales
                                                     Nina Perales




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